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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division



LULA WILLIAMS, ^ al.,
on behalf of themselves
and all individuals
similarly situated,

     Plaintiffs,

V.                                       Civil Action No. 3:17cv461


BIG PICTURE LOANS, LLC,
et al.,

     Defendants.


                            MEMORANDUM OPINION


     This matter is before the Court on the plaintiffs' MOTION FOR

ENTRY   OF   ORDER   (EOF   No.   303)   (the    "Motion").      Ascension

Technologies, Inc. ("Ascension") and Big Picture Loans, LLC ("Big

Picture") (collectively the "Corporate Defendants") responded, and

the Court heard argument on the matter.       For the following reasons,

the plaintiffs' MOTION FOR ENTRY OF ORDER (EOF No. 303) will be

granted.

                                BACKGROUND


     As explained in detail in the MEMORANDUM OPINION (EOF No.

146) (the "Opinion") entered on July 27, 2018, at the core of this

case lie consumer loans bearing interest rates of more than 600%

that are alleged to violate Virginia's usury laws and a lending

scheme (implemented through a convoluted corporate maze) that is
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alleged       to   violate   the   Racketeer    Influenced   and   Corrupt

Organizations Act ("RICO").          The corporate structure and the

lending schemes were set up by the Corporate Defendants and the

individual defendant. Matt Martorello, in an effort to escape the

reach of state usuiry laws and federal credit regulating laws by

trying to put the Corporate Defendants within the sovereign

immunity of the Lac Vieux Desert Band of Lake Superior Chippewa

Indians (the "Tribe").       For the reasons set forth in the Opinion,

the Corporate Defendants' motion to dismiss this case for lack of

jurisdiction under a claim of sovereign immunity was rejected.

That decision is on appeal to the United States Court of Appeals

for the Fourth Circuit.


       After the Corporate Defendants appealed from the decision

holding that they were not entitled to the Tribe's sovereign

immunity, the case was set for trial on the claims against

Martorello, and class and merits discovery was allowed to proceed

as to the case against Martorello.         The case against Martorello

was set for trial to begin on March 18, 2019, but as explained in

the MEMORANDUM ORDER entered on January 23, 2019 (EOF No. 323),

the Corporate Defendants have thwarted the discovery efforts of

both    the    plaintiffs    and   Martorello   by   interposing    rather

farfetched notions of sovereign immunity to oppose the plaintiffs'

efforts to obtain information from non-parties and from employees
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of the Corporate Defendants who formerly were employed by entities

owned or controlled by Martorello.

     As part of their discovery of non-parties, the plaintiffs

issued a subpoena      duces   tecum to TranDotCom        Solutions,   LLC

("TranDotCom"), a company that maintains Big Picture's data

relating to the allegedly usurious loans such as loan amounts,

origination dates, and payments.         TranDotCom refused to comply
because of its contract with Big Picture and its concerns about

whether production was prohibited by the Gramm-Leach-Bliley Act,

15 U.S.C. § 6801, et. secT.        However, TranDotCom has not filed

objections to producing the documents requested in the subpoena.
Instead, the plaintiffs and TranDotCom negotiated a resolution

that required a Court order to sanction the resolution.        TranDotCom

and the plaintiffs informed Big Picture of the subpoena and the

agreement.     After that agreement was reached, the Corporate

Defendants, who had been informed of the subpoena but had done

nothing to oppose it, filed a pleading titled SPECIALLY APPEARING

DEFENDANTS BIG PICTURE LOANS, LLC'S AND ASCENSION TECHNOLOGIES,

LLC'S RESPONSE TO PLAINTIFFS' MOTION FOR ORDER (EOF No. 318), in

which they object to entry of the order to which the plaintiffs
and TranDotCom agreed.

                               DISCUSSION


     In the Motion, the Court is asked to enter an order declaring

that TranDotCom's transfer of Big Picture's data in response to

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the subpoena does not violate the Gramm-Leach-Bliley Act so that

TranDotCom   will   provide   the   requested    data   without   fear   of

violating the statute.     The Court agrees that the transfer of Big
Picture's data does not violate the Gramm-Leach-Bliley Act because
a subpoena falls within the judicial-process exception to the Act.

       U.S.C. § 6802(e)(8) (stating that a financial institution

may provide nonpublic personal information to a nonaffiliated

third party when the financial institution is responding to
"judicial process"). Further, the Court rejects the other reasons

advanced by the Corporate Defendants for denying the motion:

(1) that the subpoena must be served in Georgia rather than in

Virginia under Rule 45 and (2) that the motion should be quashed,
because the subpoena does not satisfy Rule 45's balancing test.^
Each argument will be addressed in turn.

A.   The Graitun-Leach-Bliley Act Does Not Prevent Production

     The plaintiffs argue that the Gramm-Leach-Bliley Act is not

a bar to production here because a svibpoena for discovery falls

squarely within the "judicial process" exception of the Act, 15




     1 Both the plaintiffs and the Corporate Defendants discuss
Big Picture's contract with TranDotCom, see ECF No. 303 at 1-2;
ECF No. 318 at 203, but neither party has presented the contract
to the Court for examination. Nor have the Corporate Defendants
articulated a theory about why the contract would prevent
TranDotCom from providing the data as it has agreed.           Therefore,
any argument based on the contract is waived.
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U.S.C. § 6802(e)(8).2 Their view relies on district court opinions
from outside of this district.          See RQ Const., Inc. v. Ecolite

Concrete U.S.A., No. 09-cv-2728, 2010 WL 3069198, at *2 (S.D. Cal.

Aug. 4, 2010) ("[A] financial institution does not violate the act

if it provides the information in response to judicial process,
including civil discovery."); Marks v. Glob. Mortq. Grp., Inc.,

218 F.R.D. 492, 496 (S.D. W.Va. 2003) ("The court FINDS that 15

U.S.C. § 6802(e)(8) permits a financial institution to disclose

the non-public personal financial information of its customers to

comply with a discovery request.").

     The Corporate Defendants say that neither the federal courts

nor Congress have set a bright-line rule governing whether an

answer to a civil subpoena is "judicial process," ECF No. 318 at

8 n.4, but they rely on a district court case from Louisiana,

saying that court "stated a subpoena for monetary gain is not

* judicial process.'"   Id. (citing Landry v. Union Planters Corp.,

No. CIV.A. 02-3617, 2003 WL 21355462 (E.D. La. June 6, 2003)).

That, however, is not what the Landry court held; instead, that



     2 Section 6802(e)(8) says, "Siibsections (a) and (b) shall not
prohibit the disclosure of nonpublic personal information . . to
comply with Federal, State, or local laws, rules, and other
applicable   legal   requirements;      to   comply   with   a   properly
authorized civil, criminal, or regulatory investigation or
subpoena or summons by Federal, State, or local authorities; or to
respond to judicial process or government regulatory authorities
having   jurisdiction     over    the     financial    institution     for
examination, compliance, or other purposes as authorized by law."
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court held that the information sought "d[id] not implicate the
provisions of the [Gramm-Leach-Bliley Act]              Landry, 2003 WL
21355462 at *6.     Further, the Corporate Defendants argue that the
information should not be produced because 15 U.S.C. § 6802(b)
says that a financial institution cannot disclose nonpublic
personal financial information absent a notification for customers

to be able to opt-out,       ECF No. 318 at 9.      This argument lacks

merit because § 6802(e)(8) explicitly says, "Subsections (a) and

(b) shall not prohibit the disclosure of nonpublic personal
information . . . to respond to judicial process."

     Thus, in short, the plaintiffs are correct that the Graham-

Leach-Bliley Act allows the production of the information in

TranDotCom's possession under the judicial-process exception.
B.   The Corporate Defendants' Other Argxjments Lack Merit

     The Corporate Defendants further argue that the subpoenas
should be quashed because: (1) under Rule 45, the plaintiffs must
first file a motion to compel in Georgia where TranDotCom is

located rather than in Virginia; and (2) the subpoenas do not
satisfy the Rule 45 balancing test, because the requested data is
not relevant, and because the loan data is confidential.

     First,   the   Corporate   Defendants    are   incorrect   that   the

pi^iritiffs must file a motion to compel in Georgia, because a
motion to compel is required only where the producing party
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objects. ^ Fed. R. Civ. P. 45(d)(2)(B).               TranDotCom has not
objected to production here.

     Second, the Corporate Defendants' argument that turning over
the data does not satisfy the Rule 45 balancing test is rejected
because the Corporate Defendants' did not make that argument in
compliance with the Federal Rules of Civil Procedure.           But, even
if they had proceeded properly, the argument fails.                   Rule
45(d)(3)(B) governs permissive motions to quash subpoenas, which
include when a person affected by a subpoena must disclose
confidential commercial information. That rule requires there to
be a "motion." See id. The Corporate Defendants have never filed

a motion to quash or modify the subpoena.         Further, even if they
had filed such a motion, the Court would not grant it. Under Rule
45, the court balances the relevance of the information, the

requesting party's need for it, the confidentiality of the
information, and the resulting harm.         See Brown v. Meehan, No.
3:14-cv-442, 2014 WL 4701170, at *2 (E.D. Va. Sept. 22, 2014); see

     Truswal Sys. Corp. v. Hydro-Air Enq'g, Inc., 813 F.2d 1207,
1210 (Fed. Cir. 1987); Retractable Techs., Inc. v. Int'l Healthcare

Worker Safety Ctr., No. 3:ll-mc-28, 2011 WL 3555848, at *3 (W.D.
Va. Aug. 11, 2011); Snoznik v. Jeld-Wen, Inc., 259 F.R.D. 217, 222
(W.D.N.C. 2009). Here, the information is relevant and necessary
to the plaintiffs maintaining a class action against Matt
Martorello. Further, although the information is confidential, it
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         kept confidential, will be subject to the Protective Order,
and will be limited to use in this action.^

      Finally, considering that the Court has not yet decided
PLAINTIFFS' MOTION FOR CLASS CERTIFICATION OF CLAIMS AGAINST

DEFENDANT MATT MARTORELLO (ECF No. 189), the production of
documents shall not take effect until the Court decides whether
the plaintiffs satisfy Fed. R. Civ. P. 23's requirements to
maintain a class action.        Meanwhile, TranDotCom shall segregate
the requested information and preserve it so that it can be

produced when directed by subsequent order.           By March 30, 2019,
TranDotCom shall certify in writing and under oath that it has

properly preserved the requested information.




     3 The plaintiffs argue that the Corporate Defendants do not
have standing to challenge the subpoena to TranDotCom based on the
Eleventh Circuit's decision in Miccosukee Tribe of Indians of
Florida v. United States. 698 F.3d 1326 (11th Cir. 2012). There,
the Court decided that a Native American tribe could not challenge
a subpoena to third-party financial institutions as overbroad, but
it left open the door for a tribe to challenge whether a subpoena
is relevant. Id. at 1332. The Court agrees with the Eleventh
Circuit's reasoning, because in an overbreadth challenge, a movant
argues that complying with the subpoena is too burdensome to the
party that must comply with the subpoena while in a relevance
challenge, the movant argues that the subpoena asks for information
irrelevant to the litigation. Here, the Corporate Defendants make
a relevance challenge, so they have standing to challenge the
subpoena.

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                               CONCLUSION

     For the reasons stated above, the plaintiffs' MOTION FOR ENTRY
OF ORDER (EOF No. 303) will be granted subject to the limitation
set forth herein,




                                                   /s/
                                  Robert E. Payne
                                  Senior United States District Judge

Richmond, Virginia
Date: March 12, 2019
